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                          FOR THE DISTRICT OF CONN il :.:i' :? 'p r,rr3
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JO LYNN WILSON

         Plaintiff                                                      CIVIL ACTION NO.:
                                                                        3:15-CV-00207-RAR
VS.


YALE UNIVERSITY

         Defendant                                                      SEPTEMBER 22,2017


I.      Disabilitv Discrimination

         1.      Has the plaintiff proven by a preponderance of the evidence that she suffered

  from a cardiac disability which substantially limited major life functions, as defined by the

  Americans with Disabilities Act?

                       Yes                           N"Y
        Ifyou have answered no, then you must enter a verdict in favor of the defendant
on this count. If you have answered yes, then proceed to Question 2.


        2.      Has the plaintiff proven by a preponderance of the evidence that she was able to

 perform the essential functions       of her job at Yale University, with or           without

 accommodation?

                       Yes                           No

       If you have answered no, then you must enter a verdict in favor of the defendant
on this count. If you have answered yes, then proceed to Question 3.
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         3.        Has the plaintiff proven by a preponderance of the evidence that she was

terminated because of intentional discrimination based on her cardiac disability?

                          Yes                          No

         If you
              have answered no, then you must enter a verdict in favor of the defendant
on this count. Proceed to Section II.


il.      Failure to Accommodate

              1.   Has the plaintiff proven by a preponderance of the evidence that she suffered

from a cardiac disability which substantially limited major life functions?

                          Yes                          N"x
        If you have answered no, then you must enter a verdict in favor of the defendant
on this count. If you have answered yes, then proceed to Quesfion2.

         2.        Did the plaintiff prove by a preponderance of the evidence that the defendant

had notice of her cardiac disability?

                          Yes                          No

         If
          you have answered no, then you must enter a verdict in favor of the defendant
on this count. If you have answered yes, then proceed to Question 3.


         3.        Did the plaintiff prove by a preponderance of the evidence that she could

perform the essential functions of her position with a reasonable accommodation for her

cardiac condition?

                          Yes                         No

        If you have answered no, then you must enter a verdict in favor of the defendant
on this count. If you have answered yes, then proceed to Question 4.




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        4.     Did the plaintiff prove by   a preponderance   of the evidence that she requested a

reasonable accommodation for her cardiac condition?

                       Yes                              No

        If you have answered no, then you must enter a verdict in favor of the defendant
on this count. If you have answered yes, then proceed to Question 5.


        5.     Did the plaintiff prove by a preponderance of the evidence that the defendant

refused to provide a reasonable accommodation for her cardiac condition as requested by the

plaintiff?

                       Yes                              No

        If you have answered no, then you must enter a verdict in favor of the defendant
on this count. Proceed to Section III.




ilI.    Economic Damages

        Answer the following questions only      if   you have entered a verdict in favor of the

plaintiff on the disability discrimination andlor failure to accommodate claims.

        1.     Did the plaintiff prove that she made a reasonable attempt to find part time

employrnent in order to replace the income she earned while employe<l at Yale University?

                      Yes                               No

       If you have answered no, then you may not award any economic damages. In that
instance, you should proceed to Section IV below. If you have answered yes, then
proceed to Question 2.




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        2.       State the amount          of   economic damages the plaintiff has proven         by   a

preponderance     of the evidence that she suffered as a result of                intentional disability

discrimination or failure to accommodate her disability.

                            $



        Proceed to Section IV.


IV.     Non- Economic Damages

        Answer the following questions only           if   you have entered a verdict in favor of the

 plaintiff on the disability discrimination and/or failure to accommodate claims.

        1.      Has the plaintiff proven by a preponderance of the evidence that she suffered

emotional distress as   a   result of the defendant's conduct?

                         Yes                                 No

        If you have answered no, then you may not award any non-economic damages. In
 that instance, you should proceed to Section V below. If you have answered yes, then
 proceed to Question 2.

        2.      State the amount       of non-economic damages the plaintiff has proven by             a

preponderance of the evidence that she suffered as a result of emotional distress caused by

intentional disability cliscrirnination.

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                                                                     /s/ SF

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